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E)<hibit B

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THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION
MAREK HOLDINGS, L.P., §
Plaintiff, §
V. § CIVIL ACTION NO. 3:15-CV-1421
THE TRAVELERS CASUALTY §
INSURANCE COMPANY OF AMERICA, §
Defendant. §

EXHIBIT B
1. Index of All Docurnents Filed in the State Court Action
2. Docket Sheet in the State Court Action
3. Docurnents filed in the State Court Action

a. Plaintist Original Petition
Filed: March 30, 2015

b. Civil Case Information Sheet
Filed: March 30, 2015

c. Defendant Travelers Casualty Insurance Company of Arnerica’s Answer to

Plaintist Original Petition
Filed: Apri128, 2015

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Case 3:15-cV-01421-B Document 1-4 Filed 05/06/15 Page 3 of 24 Page|D 18

E><hibit B-l

Case 3:15-cV-01421-B Document 1-4 Filed 05/06/15 Page 4 of 24 Page|D 19

THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION
MAREK HOLDINGS, L.P., §
Plaintiff, §
v. § CIVIL ACTION NO. 3215-CV-1421
THE TRAVELERS CASUALTY §
INSURANCE COMPANY OF AMERICA, §
Defendant. §

INDEX OF DOCUMENTS FILED IN 'l`HE STATE COURT ACTION
Documents filed and all orders entered in the state court action as listed below:

1. Plaintiff’ s Original Petition
Filed: March 30, 2015

2. Civil Case Information Sheet
Filed: March 30, 2015

3. Defendant Travelers Casualty Insurance Company of America’s Answer to Plaintiff’ s

Original Petition
Filed: April 28, 2015

 

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E)<hibit B-2

Case 3:15-cV-01421-B Document1-4 Filed 05/06/15

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Page 6 of 24 PagelD 251

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REGISTER OF ACTIONS
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MAREK HOLD|NGS, L.P. vs. THE TRAVELERS CASUALTY |NSURANCE
COMPANY OF AMER|CA

|NSURANCE
03/30/2015
298th District Court

Case Type:
Date Filed:
Location:

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PARTY INFORMAT[ON

DEFENDANT THE TRAVELERS CASUALTY |NSURANCE
COMPANY OF AMER|CA

PLA|NT|FF MAREK HOLD|NGS, L.P.

Lead Attorneys

JENN|FER L. G|BBS
Rela/ned

214-742-3000(W)

T|MOTHV M|CHAEL HOCH
Retained
817-731-9703(VV)

 

EVENTS & ORDERS OF THE COURT

OTHER EVENTS AND HEARlNGS

03/30/2015 NEW CASE F|LED (OCA) - C|V|L
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THE TRAVELERS CASUALTY |NSURANCE
COMPANY OF AMER|CA
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Defendant‘s Or/'g/`na/ Answer

Unserved

 

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Tota| Payments and Credits

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04/01/2015
04/01/2015

Transaction Assessment
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(DC) Receipt#19033-2015-DCLK

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MAREK HOLD|NGSl L.P. (369.00)

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E)<hibit B-3

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CAUSE NO' DC-15-03630
MAREK HOLDINGS, L.P. § IN THE DISTRICT COURT
§
Plaintiff, §
§
VS. § DALLAS COUNTY, TEXAS
§
THE TRAVELERS CASUALTY INSURANCE §
COMPANY OF AMERICA, §
§
§
Defemlant § JUDICIAL DISTRICT

PLAINTIFF’S ()RIGINAL PETITION

MAREK HOLDINGS. LP tiles this suit for damages against THE TRAVELERS
CASUALTY INSURANCE COMPANY of AMERlCA for negligence and breach of an insurance
contract and in support hereof Would show the Court and Jury:

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DlscovERY CoNTRoL PLAN

1. Discovery in this suit shall bc according to a “Level 3” discovery control orde'r,
pursuant to Texas Rule of Civil Procedure 190.4.

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2. MAREK HOLDINGS, LP (“Plaintifi”) is a Texas Limited Partnersliip. Plaintiff is
the owner of a commercial property located at 2606 Manana Drive, Dallas Count'y, Texas 75006.

3. THE TRAVELERS CASUALTY lNSURANCE COMPANY of AMERICA is a
Connecticut insurance company licensed to write property and casualty insurance in the State of
Texas by the Texas Department of Insurance. This Defendant can be served With citation by

serving its registered agent via certified mail in accordance with the 'l`exas Rules of Civil Procedure

Case 3:15-cV-01421-B Document 1-4 Filed 05/06/15 Page 10 of 24 Page|D 25

as follows: Corporation Service Company, 211 East 7"' Street, Suite 620, Austin7 Texas

 

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I_IIz
VENU.E AND JURISD|CTION
6. Venue is proper in Dallas County as the Plaintift` owns, and the Defendants have

insured, the property made the basis of this suit which is located in Dallas County, Texas. Further,
all or a substantial part of the events or omissions giving rise to this claim occurred in Dallas
County, Texas.

7. Pursuant to Texas Rule of Civil Procedure 47, Plaintiff sues for monetary relief in

an amount in excess $200,000.00 and less than $1,000,000.00`
I_V.
BACKGROUNI) FAcTs

8. Plaintiff is the owner of a commercial property located at 2606 Manana Drive,
Dallas, Dallas County, Texas 75222 (the “property”).

9. The property was insured by Defendant THE TRAVELERS CASUALTY
INSURANCE COMPANY of AMERICA (“Travelers”) under Commercial Lines Account No,
7276V2134, (the “policy”) beginning in August 2010 and in effect during all periods relevant
hereto.

10. On or about May 24, 2011, the Property was hit by a large hailstorm and sustained
heavy roof and structural damage At`ter Plaintiff` discovered the hail, wind and storm damage,
Plaintit`f notified Travelers about this loss.

11. Defendant Travelers required Plaintit`fto submit to the Appraisal process under the

terms of the Policy. Plaintiff, unaware of the scope or effect of the Appraisal process, participated

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The Appraisal process resulted in an Umpire’s /-\ward of March 6, 2015 which awarded Plaintiff
$12,053.64. This Award only considered damage from a June 8, 2012 date oi"loss. Plaintitf never
participated in, and was never apprised of its rights to participate in, an Appraisal process that
would consider damage from other storms that occurred during periods where Defendant was the
insurer. This piecemeal Appraisal was designed by Dcfendant Trave]ers as a way to “divide and
conquer” Plaintift`s claims under the policy. By narrowing the scope ol` an appraisal to a solitary
date Travelers grossly circumscribed the amounts that could be claimed by Plaintiff under the
Policy. By embarking on this strategy, Det.`endant Travelers has failed and refused pay Plaintiff for
the damages caused during the policy period(s). This failure to pay for the damages sustained
during the policy period('s) is a breach of the terms of the Policy.

12. Travelers Defendants have failed and refused to pay Plaintiff an appropriate amount
for losses and damages caused to Plaintiff` s property by an occurrence covered under their contract
of insurancel

L
FlRS'I` CAUSE ()F AC`Tl()N-BREACH OF CONTMCT

16. Plaintiff contracted with Defendant Travelers for property and casualty insurance
on the property made the basis of this lawsuit As part of the contract for insurance, Plaintiff paid
the Defendant Travelers premiums as required under thc terms of the Policy. Defendant 'I"ravclers
agreed to “pay for direct physical loss of or damage to Covered Property at the premises described
in the Declarations caused by or resulting in a Covered Cause of Loss.” The damage to the
Plaintift`s building was the type covered by the contract for insurance

l7. l)efendant Travelers breached the contract for insurance in one or more of the

following ways:

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(a`) Failing to pay full benefits due in a timely manner in accordance with the terms of
the Policy;
(b) Failing to provide a reasonable explanation of the basis for denying the claim; and

(c) Failing to promptly and equitably pay the claim once liability had become
reasonably cl ear.

18. This breach of contract by the Defendant Travelers is a proximate cause of the

damages suffered and to be suffered in the future by Plaintiff, for which Plaintiff now sues.
g
SECOND CAUSE OF ACTION-NEGLIGENCE

19. Defendant Travelers owed a duty to Plaintiff to adjust the claim and pay the loss in
accordance with the standards in the insurance industry.

20. Defendant Travelers breached its duty to Plaintiff in one or more of the following
ways:

(a) Failing to properly investigate the claim;

(b) Failing to properly adjust the claim;

(c) Failing to pay the claim in a timely manner.

21. These acts or omissions by the Defendant Travelers, singularly or in any
combination, are a proximate cause of the damages suffered and to be suffered in the future by
Plaintiff, for which Plaintiff now sues.

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THIRD CAUSE OF ACTION-BREACH OF GO()I) FAITH AND FAIR DEALING

21 . From and after the time the Plaintiff s claim was presented to the Defendant Travelers,

it’s liability to pay the claim in accordance with the terms of the Insurance Policy was reasonably

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clear. Despite there being no basis whatsoever on which a reasonable insurance company would have
relied to deny payment of Plaintif_t`s claiin. Defendant Travclers refused to accept the claim and pay
Plaintiff.

22. At that time, Defendant Travelers knew or should have known by the exercise of
reasonable diligence that its liability was reasonably clear. In this regard, Plaintiff will show that
Defendant Travelers failed to conduct a reasonablc, proper investigation of the claim and refused to
rely on the true f`acts, resorting instead to producing faulty, incomplete, and biased reasons as
subterfuges, including requirement that Plaintiff submit to piecemeal Appraisal to avoid paying a
valid claim

23. Consequently, Defendant Travelers breached its duty to deal fairly and in good faith
with the Plaintiff. Defendant Traveler’s breach was a proximate cause of the losses, expenses, and
damages suffered by the Plaintiff as more specifically described below. These losses include a
separate and distinct measure of damages which would not have been incurred but for the Bad Faith
committed by Defendant Travelers.

24. 'l`he breach of duty by the Defendant Travelers was aggravated by the kind of malice,
fraud or gross negligence for which the law allows the imposition of exemplary damages

25. Defendant Travelers’ conduct was aggravated by malice because the conduct was
specifically intended to cause substantial injury to Plaintiff`.

26. Defendant Travelers conduct was grossly negligent in that the conduct involved an
extreme degree of risk of potential harm to the Plaintiff or others and, despite Defendant Travelers
being actually and subjectiver aware ol" the risk involved, Defendant Travelers proceeded with
conscious indifference to the rights, safety, and welfare of the Plaintiff.

27. Plaintiff seeks exemplary damages in an amount to be assessed by the trier offact.

VIlI.

F()URTH CAUSE OF ACTION
DECEPTIVE TRAI)E PRACTICES

28, Plaintiff would show that Defendant Travelers engaged in certain false, misleading

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and deceptive aets, practices and/or omissions actionable under the Texas Deceptive Trade I’ractices
- Consuiner Protection Act (_Texas Business and Commerce Code. Chapter 17.41, _et_sg].), as alleged
herein below.

29. \"inlalions cf Se.clion l”r'.¢l(){h]. Defendant Travelers violated Section 17.46(b) of the
Texas Business and Commerce Code. Specifically, Defendant Travelers:

(a) represented that goods or services have sponsorship, approval, characteristics,

ingredients, uses, benefits, or quantities which they do not have;

(b) represented that goods or services were of a particular standard, quality, or

grade, or that goods were ot`a particular style or model, if they are of another;

(d) represented that an agreement confers or involves ri ghts, remedies, or
obligations which it does not have or involve, or which are prohibited by law,

(e) failed to disclose information concerning goods or services which was known
at the time of the transaction when such failure to disclose such information was intended to induce
the consumer into a transaction into which the consumer would not have entered had the information
been disclosed

30. Uncrmscir_mahle Actinn or (`oursg _p__lf_.»_\ction. Defendant Travelers engaged in an

 

"unconscionable action or course of action" to the detriment of Plaintiff as that term is defined by
Section 17.45(5) of the Texas Business and Commerce Code, by taking advantage of the lack of
knowledge, ability, experience, or capacity of Plaintiff to a grossly unfair degree.

IX.

FIFTH CAUSE OF ACTION
VIOLATIONS OF THETEXAS |NSURANCE (T()l)l-`.

31. Defendant engaged in unfair claim settlement practices prohibited by Section 54l .060
of the Texas Insurance Code. Specifically, Defendant Travelers:
(a) misrepresented to Plaintiff a material fact or policy provision relating to coverage at

issue;

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(b) failed to attempt in good faith to effectuate a prompt, f`air, and equitable settlement of

Plaintiff' s claim even though Defendants’ liability had become reasonably clear; and/or

(e) failed to promptly provide to Plaintiff a reasonable explanation of the basis in the

policy, in relation to the facts or applicable law, for the Defendant’s denial of a claim or offer

of a compromise settlement of a claim.

(d) refused to' pay Plaintiff’s claim without conducting a reasonable investigation with

respect to the claim.

32. Plaintiff would show that the acts, practices and/or omissions complained of were the
producing cause of Plaintiff"s damages more fully described herein below.

33. Plaintiff would further show the acts, practices and/or omissions complained of under
Section 17.46(b) of the Texas Business and Comrnerce Code and Chapter 541 of the Texas Insurance

Code were relied upon by Plaintiff to Plaintiff‘s detriment

§
DlscovERv
23. Pursuant to Tex.R.Civ.P. 194, Defendant Travelers is requested to disclose within
fifty (50) days of service of this request, the information or material described in Tex.R.Civ.P.
194,2.
§
CONDITIONS PRECEDENT
35. By letter dated March 19, 2015, Plaintiff gave Notice as required under the Texas
Deceptive Trade Practices Act (Texas Business & Commerce Code Section 17.45 et seq and tge

Texas Insurance Code Sections 54l and 542 et seq. The 60 day Notice had not expired prior to the

filing of this Petition. Such Notice Was rendered impracticable because of the necessity of filing

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before the expiration of the Statute of Limi'tations,. All other conditions precedent to filing suit

have been met, including Plaintift"s payment of the insurance premium to Defendant Travelers.

24.

XI_I»

PRAYER

F or these reasons, Plaintiff asks that Defendant Travelers be cited to appear and

answer, and that upon final trial, Plaintiff have judgment against Defendant Travelers for:

(a)
(b)
(C)
(C)

(d)
(e)

Actual damages;
Reasona`ble and necessary attorney’s fees',

Extra-contractual damages for Defendant’s violations of the Texas Insurance Code
including exemplary and punitive damages for knowing violations:

Pre-judgment and post-judgment interest as allowed by law;
Costs of court;

All other relief, at law or in equity, to which Plaintiff may be entitled.

Respectt`ully submitted,

/s/Timothv M. lHoch
Timothy M. Hoch
Texas Bar No. 09744950

HOCH LAW FIRM, P.C.
5616 Malvey Avenue

Fort Worth, Texas 761 07
(817)731-9~703
(817)731-9706 - facsimile
tim@hochlawtirm.com

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Exhibit B-3-b

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A civil case information sheet must be completed lend submitted when .'m original petition or application is filed to initiate a new civi|, family law, probatc, or mental
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Nnmes of parties in cnse:

Person or entityl completing sheer ls:

 

Name:

Tim lloch

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5616 Malvey .'\vcnue

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lim@hnchla\vt“irm_com

Telephone:
8 l 7 173 l-9703

 

City/State/Zip:
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Non»Custodial Parent;

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l‘resumed Father:

 

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Less than $100,000, including damages ofany kind, penalties costs, expenses, pre-judgment interest, and attorney fees
l:lLess than $100,000 and non-monetary relief

[:lOver $100, 000 but not more than $200,000
ElOver $200,000 but not more than $1.000,000

 

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Exhibit B-3-C

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DALLAS COUNTY

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CAUSE NO. DC-15-03630

MAREK HOLDINGS, L.P., IN THE DISTRICT COURT OF
Plaintiff,

VS.

THE TRAVELERS CASUALTY

§
§
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§
§ DALLAS CouNTY, TEXAS
§
leURANCE COMPANY oF AMERICA, §
§
§

Defendant. 298TH JUDICIAL DISTRICT
TRAVELERS’ ORIGINAL ANSWER TO PLAINTIFF’S ORIGINAL PETITION
Defendant The Travelers Casualty Insurance Company of America (“Travelers”), submits
the following Original Answer to Plaintiff’s Marel< Holding, L.P.’s (“Plaintiff”) Original
Petition.

I.
GENERAL DENIAL

Pursuant to Rule 92 ofthe TEXAS RULES OF CthL PROCEDURE, Travelers generally denies
each and every allegation contained in Plaintiff’s Original Petition and demands strict proof
thereof. By this general denial, Travelers demands that Plaintiff prove every fact in support of its
claims regarding violations of the TEXAS INSURANCE CODE, violations of the duty of good faith
and fair dealing, DECEPTIVE TRADE PRACTICES ACT, negligence, and breach of contract by a
preponderance of the evidence. By this general denial, Travelers further demands that Plaintiff
prove every fact in support of its exemplary damages claims by clear and convincing evidence.

II.
SPECIAL DENIAL

Travelers denies that Plaintiff has satisfied all conditions precedent to the recovery _it now

seeks Travelers specifically denies that it received timely written notice of Plaintiff’s claims as

 

TRAVELERS’ OnchNAL ANSWER To PLAlNTrFF’s ORIGINAL PETITroN Page 1
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required by Section l7.505 of the TEXAS BUSINESS AND COMMERCE CODE. Travelers denies that
Plaintiff has properly presented their claim for attorneys’ fees under § 38.001 of the TEXAS ClVlL
PRACTICE AND REMEDIES CODE. Plaintiff is thus barred from any recovery on such claims.
Travelers also denies that Plaintiff has satisfied all property loss conditions and conditions
required prior initiating legal action as stated in the Policy.

III.
AFFIRMATIVE DEFENSES

1. Plaintiff`s claims are barred, in Whole or in part, to the extent that this lawsuit was
not filed within the applicable statute of limitations

2. Plaintiff’s claims are subject to all of the terms, conditions, limitations and
exclusions, contained in The Travelers Lloyds Insurance Company policy number IL-PACP-

2AO68612-ACJ-11 (the “Policy”).

3. The amount recoverable for Plaintiff`s claims is limited by the applicable limits
and any sub-limits contained in the Policy.

4. Plaintiff s claims are barred, in whole or in part, to the extent Plaintiff ha sbeen
paid pursuant to a binding appraisal award.

5. Plaintiffs claims are barred, in whole or in part, to the extent the claimed loss or
damage was pre-existing and/or did not occur during the applicable policy period.

6. Plaintiff`s claims are barred, in Whole or in part, to the extent the physical loss of
or damage was not caused by or resulting from a covered cause ofloss.

7. Plaintiff’s claims are barred, in whole or in part, by Plaintiff`s neglect to use all
reasonable means to save and preserve the property from further damage at and after the time of

loss.

 

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8. Plaintiff s claims are barred, in whole or in part, to the extent the claimed damage
was caused by or resulted from wear and tear, rust, corrosion, fungus, decay, deterioration, wet
or dry rot, latent defect, or any quality in property that caused it to damage or destroy itself.

9. Plaintiffs claims are barred, in whole or in part, to the extent the claimed damage
Was caused by or resulted from settling, cracking, shrinking or expansion

10. Plaintiffs claims are barred, in whole or in part, to the extent Plaintiffs claimed
damage was caused by or resulted from faulty, inadequate or defective design, specifications,
workmanship, repair, construction, renovation, remodeling, grading, compaction, materials or
maintenance

ll. Plaintiff’s claims are barred, in Whole or in part, to the extent the claimed damage
was caused by or resulted from continuous or repeated seepage or leakage of water, or the
presence or condensation of humidity, moisture or vapor, that occurs over a period of 14 days or
more.

12. Plaintiffs claims are barred, in whole or in part, by Plaintiffs failure to meet all
conditions precedent to the recovery it now seeks under the Policy.

13. Plaintiff"s claims are barred, in whole or in part, to the extent Plaintiff failed to
cooperate with Travelers in the investigation of the claim.

14. Plaintiffs claims are barred, in whole or in part, to the extent Plaintiff and/or its
agents’ acts or omissions proximately caused or contributed to Plaintiff s injury.

15 . Plaintiff s claims are barred, in whole or in part, pursuant to the doctrine of accord
and satisfaction

16. Plaintiffs claims are barred, in whole or in part, by the equitable doctrines of

laches, estoppel, waiver, and unclean hands.

 

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l7. A bona fide controversy exists concerning the extent of Plaintiff s entitlement to
benefits under the Policy. Travelers and its employees, agents, representatives and adjusters are
entitled to value claims differently from Travelers’ policyholders without facing bad faith or
extra-contractual liability. Travelers would show that a bona fide controversy exists regarding
the scope of any alleged covered loss and/or whether and the extent to which any asserted loss
was the result of a covered occurrence or occurrences to covered property.

18. Travelers reserves the right to assert additional defenses with respect to such
losses or damages as additional information becomes available or apparent as this litigation

proceeds

IV.
PRAYER

Travelers prays that (i) Plaintiff’s claim for relief be denied in its entirety, (ii) Plaintiff
take nothing, and (iii) Travelers be granted such other and further relief to which it is justly

entitled.

 

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Respectfully submittcd,

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ATTORNEYS FOR DEFENDANT
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INSURANCE COMPANY OF AMERICA

CERTIFICATE OF SERVICE

This is to certify that a true and correct copy of the foregoing Original Answer has been

served this 28th day of April, 2015, in accordance with the TEXAS RULES OF CIVIL PROCEDURE

as follows:

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